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11
                               UNITED STATES DISTRICT COURT
12
                CENTRAL DISTRICT OF CALIFORNIA—SOUTHERN DIVISION
13
14   LDR INTERNATIONAL LIMITED, a             )   Case No. 8:23−cv−00257−DOC (JDEx)
15   British Virgin Island corporation;       )
                                              )   REQUEST TO CLERK TO ENTER
16                Plaintiff,                  )   DEFAULT; DECLARATION OF
                                              )   RONALD RICHARDS
17         v.                                 )
                                              )
18   SARA JACQUELINE KING, an                 )
     individual, and KING FAMILY              )
19   LENDING LLC, a California limited        )
     liability company;                       )
20                                            )
                  Defendants.                 )
21
22         PLEASE TAKE NOTICE that Plaintiff LDR International Limited (“Plaintiff”)
23   hereby requests the Clerk enter default against Defendants Sara King (“King”) and King
24   Family Lending LLC (“KFL, collectively, “Defendants”).
25
           The Court ordered on March 29, 2023 (Doc#20), that the answer and cross
26
     complaint be stricken. (Docs #s 15, 16). The Court gave Defendants until 12:00 p.m. on
27
     April 3, 2023 to file new documents. None were filed. The time to answer the
28
                                              1
                                  REQUEST TO ENTER DEFAULT
 Case 8:23-cv-00257-DOC-JDE Document 22 Filed 04/03/23 Page 2 of 5 Page ID #:139



 1
     Complaint per the parties’ stipulation expired on March 28, 2023. Since the
 2
     defendants have violated the March 29, 2023 Order of the Court and have not timely
 3
     filed new documents, a default against the Defendants should be entered by the Clerk.
 4
 5
 6                            DATED: April 3, 2023
 7
 8                            LAW OFFICES OF RONALD RICHARDS &
                              ASSOCIATES, A.P.C.
 9
10                            By:    /s/ Ronald N. Richards, Esq.
                              ______________________________________
11
                              Ronald N. Richards
12                            Attorneys for Plaintiff LDR INTERNATIONAL LIMITED
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                                             2
                                 REQUEST TO ENTER DEFAULT
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 1                     DECLARATION OF RONALD RICHARDS, ESQ.
 2         1.     I am the attorney for Plaintiff LDR International Limited (“Plaintiff”) and
 3   admitted to practice in front of this Court. The following facts are based on my personal
 4   knowledge and if called to do so, I could and would testify thereto.
 5         2.     On March 29, 2023, the Court ordered defendants’ answer and cross
 6   complaint stricken. (Doc#15, Doc#16) A true and correct copy of the order is attached
 7   as Exhibit “A”.
 8         3.     The Court gave defendants until 12:00 p.m. on April 3, 2023 to file a new
 9   answer and/or cross complaint and provide a jurisdictional basis. As of 5:00 p.m, none
10   were served or filed. The defendants are in violation of the Court’s order. A clerk’s
11   default should be entered as to both defendants.
12
13         I declare under penalty of perjury under the laws of the United States of the
14   America the above to be true and correct dated April 3, 2023.
15                                                             /s Ronald Richards
16                                                           ___________________
                                                               Ronald Richards
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                                  REQUEST TO ENTER DEFAULT
Case 8:23-cv-00257-DOC-JDE Document 22 Filed 04/03/23 Page 4 of 5 Page ID #:141




                               EXHIBIT “A”
Case 8:23-cv-00257-DOC-JDE Document 22
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                                                                1 Page ID #:142
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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

  Case No. 8:23-cv-00257-DOC-JDE                                       Date: March 29, 2023

 Title: LDR INTERNATIONAL LIMITED V. SARA JAQUELINE KING ET AL.
 PRESENT:
                     THE HONORABLE DAVID O. CARTER, JUDGE

                Karlen Dubon                                     Not Present
               Courtroom Clerk                                  Court Reporter

        ATTORNEYS PRESENT FOR                           ATTORNEYS PRESENT FOR
              PLAINTIFF:                                     DEFENDANT:
                 None Present                                    None Present


        PROCEEDINGS (IN CHAMBERS): ORDER STRIKING DOCUMENTS
                                   FROM THE RECORD

         The documents listed below were improperly filed because the named individual
 is not a party to this action. IT IS HEREBY ORDERED that the following documents
 shall be stricken from the record and shall not be considered by the Court:

            • Dkt. 15: Defendant King Family Lending LLC’s “Answer, Cross Third-
              Party Complaint against Kamran Abbas-Vahid”; and

            • Dkt. 16: Defendants Sara Jacqueline King and King Family Lending’s
              “Crossclaim against Cross-Defendant Kamran Abbas-Vahid.”

         Pursuant to Federal Rule of Civil Procedure 14, a defendant “may, as third-party
 plaintiff, serve a summons and complaint on a nonparty who is or may be liable to it for
 all or part of the claim against it.” Fed. R. Civ. P. 14(a)(1). It is the responsibility of the
 third-party plaintiff to serve the summons and complaint on the third-party defendant and
 on the first-party plaintiff.

        Accordingly, Defendants are ordered to re-file any of the following documents
 separately: (1) Answer to Plaintiff’s Complaint; (2) any third-party complaint. IT IS
 FURTHER ORDERED that the third-party complaint shall clearly state the basis for this
 court’s jurisdiction over a third-party defendant. Defendants shall file the corrected
 documents by 12 p.m. PST on April 3, 2023.

        The Clerk shall serve this minute order on the parties.
                                                                    Initials of Deputy Clerk: kdu
  MINUTES FORM 11
  CIVIL-GEN
